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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


BROADCAST MUSIC, INC.; BMG
RIGHTS MANAGEMENT US LLC
d/b/a Music of Everpop;
UNIVERSAL-SONGS OF POLYGRAM
INTERNATIONAL, INC.; FUEL
PUBLISHING INC. d/b/a Pener
Pig Publishing; BMG RIGHTS
MANAGEMENT GMBH d/b/a BMG
Rights Management US LLC
d/b/a EMI Virgin Songs; FULL
VOLUME MUSIC; SCRAP METAL
MUSIC; EMI BLACKWOOD MUSIC,
INC.; COUNTING CROWS, LLC
d/b/a Jones Falls Music;
COLLIPARK MUSIC; SOAR LOSER
MUSIC; DA CRIPPLER
PUBLISHING; E W C PUBLISHING
CO.; HIP CITY MUSIC INC.; and
HIFROST PUBLISHING;


      Plaintiffs,

V.                                        CASE NO. CV419-047


2 FOR 1, LLC d/b/a Pour
Larry's; JOLYNN ROMANO; LARRY
NELSON, II;

      Defendants.




                                 ORDER


      Before   the   Court is the       Plaintiffs'     Consent   Motion   to


Administratively      Close    Case.     (Doc.   17.)    Plaintiffs      have

informed   the    Court   that   they     have   reached    a     settlement

agreement, the terms of which they expect to be complete on

or   before    December   1,    2021.    (Id.    at   2.)   As    a   result.
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Plaintiffs,    with    the    consent      of       Defendants,      request that

the   Court   direct   the       Clerk    of    Court     to    close     the     case

administratively       pending        successful          resolution        of    the

parties' settlement agreement. After careful consideration.

Plaintiffs'    consent       motion   (Doc.         17)   is   DENIED.     Instead,

the Court DISMISSES Plaintiffs' complaint (Doc. 1) WITHOUT

PREJUDICE.    The   Clerk     of    Court      is    DIRECTED       to   close   this


case. If the terms of the parties' settlement agreement are

not   completed.      Plaintiffs         remain       free     to    refile      their

complaint.

      so ORDERED this        /     day of November 2020.




                                   WILLIAM T. MOORE,
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
